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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  SAPPHIRE CROSSING LLC,

               Plaintiff,
                                              C.A. No. 1:18-cv-01717-MN
         v.
                                             JURY TRIAL DEMANDED
  QUOTIENT TECHNOLOGY INC.,

               Defendant.


 DEFENDANT QUOTIENT TECHNOLOGY INC.’S OPENING BRIEF IN SUPPORT
 OF ITS RULE 12(b)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

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I.       STAGE AND NATURE OF PROCEEDINGS

         On October 31, 2018, Sapphire Crossing LLC (“Plaintiff” or “Sapphire”) filed this lawsuit

accusing Quotient Technology Inc. (“Quotient”) of infringing U.S. Patent No. 6,891,633 (the

“’633 Patent”). Sapphire accuses Quotient of infringing one or more claims of the ’633 Patent 1 by

Quotient’s alleged “making, using […], marketing, and providing” a coupon scanning application

available for download. Compl. ¶¶ 21, 13, 14, 19.

II.      SUMMARY OF THE ARGUMENT

         The ’633 Patent does not embrace patent-eligible subject matter. The claims of the patent

are directed to the abstract idea of data capture, upload, and transfer, and none of the claims recites

any specific non-conventional hardware or software. In RecogniCorp, LLC v. Nintendo Co., 855

F.3d 1322, 1328 (Fed. Cir. 2017), the Federal Circuit held claims directed to encoding and

decoding images to aid in transmission—similar to the claims at issue here—invalid under both

Alice steps. The claims of the ’633 Patent cannot be meaningfully distinguished from the

RecogniCorp claims and are thus invalid for the same reasons.

         Resolving these issues does not require discovery or formal claim construction. To avoid

waste of judicial and party resources unnecessarily litigating invalid patents, Quotient thus requests

that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure for failure to state a claim upon which relief can be granted.

III.     STATEMENT OF THE FACTS

The ’633 Patent is entitled “Image Transfer System” and is directed to “an image transfer device

for reading and transferring an image from a first medium, and a computer.” ’633 Patent at

Abstract. The ’633 Patent sought to enhance copying machine functionality through an “enriched”


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 In its Complaint, Sapphire asserts that Quotient “has and continues to directly infringe at least
Claim 19 of the ’633 Patent” (Dkt. No. 1 (“Compl.”) ¶ 23).


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software and user interface by connecting it to a personal computer (“PC”) containing additional

features. Id. at 1:17–26. The PC can utilize its generic memory and processing power that the

copier lacks to purportedly perform enriched functions (e.g., collation) and send instructions back

to the copier for output. Id. at 1:25–32.

       One embodiment of the invention involves coupling a “transfer apparatus” with a reader

capable of performing scanning functionality and a controller to connect to a computer. See id. at

1:56–65. A method describes “enhancing” the transfer device by expanding its operating features

similar to the copier in the previous example. Id. at 2:16–33. The transfer device can be a

standalone device such as a copier or fax machine, but when connected to a computer, its stable of

features is allegedly expanded. Id. at 3:55–67. The details of these enrichments or enhancements,

however, are missing from the specification and the claims.

       Sapphire has explicitly asserted claims 19 and 20 of the ’633 Patent, which are the only

claims of the patent that survived an Inter Partes Review. Compl. ¶ 21; see also Unified Patents

Inc. v. Ruby Sands LLC, IPR2016-00723, Paper No. 18 at 2 (PTAB Jan. 6, 2017). Claim 19, set

forth below, is representative of the remaining claims of the patent:

       19. A method for transferring information from a first medium, the method
           comprising the steps of:

           providing an image transfer device having a scanner for reading an image on
           the first medium;

           reading the image on the first medium with the scanner;

           automatically uploading electronic data including at least a portion of an image
           transfer menu to be displayed by the image transfer device to the transfer device
           from a computer connected to the transfer device;

           with a processor of the image transfer device, automatically merging the
           electronic data with the image read by the scanner; and

           transferring the merged image by the transfer device to a second medium.



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Id. at cl. 19. This claim can be broken down into five main steps: (1) providing an image transfer

device with a scanner; (2) reading an image with the scanner; (3) displaying a menu for

manipulation of the image on the image transfer device; (4) automatically merging electronic data

with the image read by the scanner; and; (5) transferring the merged image to another medium.

Put simply, these steps are directed to scanning, uploading, and transferring an image from one

medium to another.

        The applicants made clear through the specification that the components and processes for

carrying out the claimed method were conventional. For example, the claimed “image transfer

device” can be virtually any device containing a reader, CPU, memory, display, and user interface.

See id. at 3:14–21 (“The image transfer device 12 generally comprises a reader 18, a central

processing unit (CPU) 20, a memory 22, a display 24 and a user interface (UI) 26.”); 3:53–54

(“Thus, the image transfer device may include a computer printer, a copier, a facsimile or an optical

Scanner capability.”). And once an image is scanned, the “electronic data” (i.e., the information

obtained from the image and the image itself) can then be “transferred” to a “second medium.” See

id. at cl. 19.

        The “image transfer device” described in Claim 19 may be “only a copier and/or only a

facsimile machine.” See id.; see also id. at 3:59-63. Similarly, the “processor” for “merging the

electronic data with the image” is nothing more than standard computer hardware. See id. at 3:42–

43 (“The computer 14 generally includes a processor 32 and a memory 34.”); see also id. at 12:19–

25 (“the computer 14 of the image transfer system 10 has a processor 32B which is programmed

to have a ‘Plug and Play’ polling capability. ‘Plug and Play’ polling allows the computer processor

32B to Sense, by means of a polling Signal, when the computer 14 is connected to the image

transfer device 12 of the image transfer System.”). Also, the “first medium” and “second medium”



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may be just a “printed image” on a “sheet medium.” See id. at cl. 19; see also id. at 3:22–23 (“The

reader 18 is adapted to read a printed image on medium 100.”); id. at 4:4–6 (“In the preferred

embodiment, the device 12 has an input area 40 in which the user places the sheet medium 100 for

reading by the reader 18.”); id. at cl. 10 (“An electronic assembly in accordance with claim 1,

wherein the image transfer device is adapted to transfer the image to at least one of the computer

connected to the image transfer device, another computer located at first remote site, or a printing

device for printing the image on a Second medium at a first remote site.”). As such, the ’633

Patent’s image transfer device, scanner, processor, and media are all conventional.

IV.    LEGAL STANDARDS

       A.      Legal Standard for Dismissal Pursuant to Rule 12(b)(6).

       Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim

upon which relief can be granted. To survive a Rule 12(b)(6) motion, a complaint “must allege

facts that ‘raise a right to relief above the speculative level on the assumption that the allegations

in the complaint are true (even if doubtful in fact).’” Victaulic Co. v. Tieman, 499 F.3d 227, 234

(3rd Cir. 2007) (citation omitted). In deciding a Rule 12(b)(6) motion, courts consider documents

attached to or incorporated into the complaint as well as facts alleged in the complaint. Gibbs v.

Coupe, No. CV 14-790-SLR, 2015 WL 6870033, at *1 (D. Del. Nov. 6, 2015) (citation omitted).

Although factual allegations are taken as true, legal conclusions are given no deference—those

matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting

tenet that allegations are taken as true on a motion to dismiss “is inapplicable to legal

conclusions”). “[W]hen the allegations in a complaint, however true, could not raise a claim of

entitlement to relief [as a matter of law], this basic deficiency should . . . be exposed at the point

of minimum expenditure of time and money by the parties and the court.” Cuvillier v. Sullivan,

503 F.3d 397, 401 (5th Cir. 2007) (internal citations and quotations omitted).


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       B.      Patentability is a Threshold Legal Issue.

       Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S.

593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage if it is

apparent from the face of the patent that the asserted claims are not directed to eligible subject

matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718–19 (Fed. Cir. 2014) (Mayer, J.,

concurring). In those situations, claim construction is not required to conduct a § 101 analysis.

Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir. 2012) (“[W]e

perceive no flaw in the notion that claim construction is not an inviolable prerequisite to a validity

determination under § 101.”).

       C.      The Law of 35 U.S.C. § 101.

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980) (emphasis added). Abstract

ideas are ineligible for patent protection because a monopoly over these ideas would preempt their

use in all fields. See Bilski, 561 U.S. at 611–12. In other words, “abstract intellectual concepts are

not patentable, as they are the basic tools of scientific and technological work.” Id. at 653 (quoting

Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

       Determining whether a patent claim is impermissibly directed to an abstract idea involves

two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the

claim contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e.,

an element or combination of elements that is sufficient to ensure that the patent in practice




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amounts to significantly more than a patent upon the ineligible concept itself.” Id. (internal

quotations and citations omitted).

       Transformation into a patent-eligible application requires “more than simply stating the

abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs.

v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in

the human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp.

v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

limited if it includes only token or insignificant pre- or post-solution activity—such as identifying

a relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct.

at 1297–98, 1300–01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14

(1981); Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional

steps, specified at a high level of generality, to laws of nature, natural phenomena, and abstract

ideas cannot make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see

also Fort Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a

broad and general limitation does not impose meaningful limits on the claim’s scope.”).

V.     ARGUMENT

       The Court should dismiss Sapphire’s Complaint pursuant to Rule 12(b)(6) because the ’633

Patent’s claims, which are directed to capturing, uploading, and transferring data, cannot be

meaningfully distinguished from those held patent-ineligible in RecogniCorp.

       The claims of the ’633 Patent are invalid under 35 U.S.C. § 101 because they fail both

prongs of the Alice test. Each of the claims is directed to the abstract idea of data recognition and

transfer. Abstract ideas are not eligible for patenting. None of the claims contains an “‘inventive

concept’ . . . sufficient to ensure that the patent in practice amounts to significantly more than a

patent upon the ineligible concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because


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Sapphire has failed to state a claim upon which relief may be granted, Quotient respectfully

requests that the Court grant its motion and dismiss this case with prejudice.

        A.     Alice Step 1: The ’633 Patent is directed to the abstract idea of data recognition
               and transfer.

        In determining patent eligibility under § 101, the Court must first determine whether the

claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

claims of the ’633 Patent are directed to an abstract idea because they claim nothing more than the

“longstanding,” “routine,” and “conventional” concept of data recognition and transfer. See Alice,

134 S. Ct. at 2356-59; Bilski, 561 U.S. at 611.

        Claim 19 of the ’633 Patent is representative of the claims.2 See, e.g., Phoenix Licensing,

L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8–9 (E.D.

Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing only a few “representative claims”

where the other claims were “substantially similar” and “linked to the same abstract idea.”). The

abstract idea inquiry begins by analyzing the “focus” of the claim, i.e., its “character as a whole,”

in order to determine whether the claim is directed to an abstract idea. SAP Am., Inc. v. InvestPic,

LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018). For example, the Federal Circuit has explained that

this Court should examine the patent’s “‘claimed advance’ to determine whether the claims are

directed to an abstract idea.” Finjan, Inc. v. Blue Coat System, Inc., 879 F.3d 1299, 1303 (Fed. Cir.

2018). “In cases involving software innovations, this inquiry often turns on whether the claims

focus on ‘the specific asserted improvement in computer capabilities . . . or, instead, on a process

that qualifies as an “abstract idea” for which computers are invoked merely as a




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  Where claims are “substantially similar and linked to the same abstract idea,” courts may look to
representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells
Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).


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tool.’” Id. (quoting Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335-36 (Fed. Cir.

2016)); see BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1285-86 (Fed. Cir. 2018).

        Accordingly, at step one, the Federal Circuit has directed courts to “look to whether the

claims focus on a specific means or method, or are instead directed to a result or effect that itself

is the abstract idea and merely invokes generic processes and machinery.” Two-Way Media Ltd. v.

Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017); McRO, Inc. v. Bandai

Namco Games Am., Inc., 837 F.3d 1299, 1314 (Fed. Cir. 2016) (“We therefore look to whether the

claims in these patents focus on a specific means or method that improves the relevant technology

or are instead directed to a result or effect that itself is the abstract idea and merely invoked generic

processes and machinery.”). Therefore, the question in such cases is “whether the claims are

directed to ‘a specific means or method’ for improving technology or whether they are simply

directed to an abstract end-result.” RecogniCorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322, 1326

(Fed. Cir. 2017).

        In Recognicorp, the Federal Circuit found the patent claim at issue to be directed toward

the abstract idea of “encoding and decoding image data.” Id. at 1324. The claim at issue in

Recognicorp recited:

        A method for creating a composite image, comprising:

            displaying facial feature images on a first area of a first display via a first device
            associated with the first display, wherein the facial feature images are
            associated with facial feature element codes;

            selecting a facial feature image from the first area of the first display via a user
            interface associated with the first device,

            wherein the first device incorporates the selected facial feature image into a
            composite image on a second area of the first display, wherein the composite
            image is associated with a composite facial image code having at least a facial
            feature element code and wherein the composite facial image code is derived




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           by performing at least one multiplication operation on a facial code using one
           or more code factors as input parameters to the multiplication operation; and

           reproducing the composite image on a second display based on the composite
           facial image code.

Id. The Federal Circuit described the claim as a “method whereby a user displays images on a first

display, assigns image codes to the images through an interface using a mathematical formula, and

then reproduces the image based on the codes.” Id. at 1326. The Federal Circuit found that this

method reflected “standard encoding and decoding.” Id.

       Similarly, by only claiming the desired result—capture, upload, and transfer of an image—

without describing any specific roadmap for doing so, Claim 19 of the ’633 Patent falls short of

claiming eligible subject matter under § 101. See Internet Patents Corp. v. Active Network, Inc.,

790 F.3d 1343, 1348 (Fed. Cir. 2015); Secured Mail Sols., LLC v. Universal Wilde, Inc., 873 F.3d

905, 910–11 (Fed. Cir. 2017). All Claim 19 of the ’633 Patent explains is a way to use a generic

piece of hardware like a copier of fax machine, in conjunction with a similarly generic computer

to capture, upload, and transfer images and associated data:

                            Claim Language                                    Claimed Idea

 A method for transferring information from a first medium, the method
 comprising the steps of:

 providing an image transfer device having a scanner for reading an deploying a scanner
 image on the first medium;                                         for reading data

 reading the image on the first medium with the scanner;                   capturing data

 automatically uploading electronic data including at least a portion of uploading data
 an image transfer menu to be displayed by the image transfer device to
 the transfer device from a computer connected to the transfer device;

 with a processor of the image transfer device, automatically merging merging data
 the electronic data with the image read by the scanner; and




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                            Claim Language                                        Claimed Idea

 transferring the merged image by the transfer device to a second transferring data
 medium.

       At a high level, this claim describes the most generic functional steps of a standard

computer (i.e., capturing and sending data). Such a broad concept is not patent eligible because it

“recite[s] an abstraction—an idea, having no particular concrete or tangible form.” Ultramercial,

772 F.3d at 715. That the claim purports to implement the steps with conventional components

like an “image transfer device having a scanner,” a “remote transfer device,” a “display” device,

and generic “computers” does not make it any less abstract.

       Claim 19 is directed to an abstract end-result. It lacks any of the specificity that the Federal

Circuit has held is sufficient to confer patent eligibility. See Data Engine Techs. LLC v. Google

LLC, 906 F.3d 999 (Fed. Cir. 2018) (holding eligible claims with the required specificity, but

ineligible those without it); Core Wireless Licensing S.A.R.L. v. LG Elec., Inc., 880 F.3d 1356,

1361–63 (Fed. Cir. 2018) (holding claims eligible where they were “directed to a specific

improvement in the capabilities of computing devices”) (emphasis added); RecogniCorp, 855 F.3d

at 1326 (claims were ineligible because they were not directed to “a specific means or method for

improving technology”) (emphasis added). Claim 19 does not require a new or unconventional

machine or process for capturing, uploading, or transferring images—it requires only that well-

known devices be connected to achieve an end-result of image transfer.

       “Inquiry therefore must turn to any requirements for how the desired result is achieved.”

Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1355 (Fed. Cir. 2016). But Claim 19 does

not describe how the desired result—transfer of a captured and uploaded image—is achieved. It

notes only a few simple criteria to achieve the end-result (a copier or fax-machine connected to a

computer). The mechanism to implement the idea, however, is impermissibly unbounded in scope.


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       Claim 19 thus differs from the claims that recite specific means for improving specific

computer technology or solving specific computer problems. For example, the Federal Circuit

recently addressed the eligibility of claims directed to improving computer security in Ancora

Technologies, Inc. v. HTC America, Inc., 2018 WL 6005021 (Fed. Cir. Nov. 16, 2018). In that

case, the Federal Circuit held the claims eligible and stated, “[i]mproving security—here, against

a computer’s unauthorized use of a program—can be a non-abstract computer-functionality

improvement . . . done by a specific technique that departs from earlier approaches to solve a

specific computer problem.” Id. at *4 (emphasis added). The court was persuaded because “[t]he

claimed method here specifically identifies how that functionality improvement is effectuated in

an assertedly unexpected way.” Id.

       The same is not true of Claim 19 of the ’633 Patent. It does not require a specific and

unconventional technique, and it does not identify any specific improvement to computer

functionality or image-transfer technology much less an unexpected way of effectuating such an

improvement. Therefore, Claim 19 does not embrace patent-eligible subject matter.

        “Most obviously, limiting the claims to [a] particular technological environment . . . is,

without more, insufficient to transform them into patent-eligible applications of the abstract idea

at their core.” Elec. Power Grp., 830 F.3d at 1354. As the Supreme Court explained in Alice, its

holding in Parker, 437 U.S. 584 stands for the proposition that the prohibition on patenting abstract

ideas cannot be circumvented by attempting to limit the use of the idea to a particular technological

environment. Alice, 134 S. Ct. at 2358; see also buySAFE, Inc. v. Google, Inc., 765 F.3d 1350,

1355 (Fed. Cir. 2014) (claims’ “narrowing to cover only online transactions was an attempt to limit

the use of the abstract guarantee idea to a particular technological environment, which has long

been held insufficient to save a claim in this context”) (internal quotations and citations omitted).




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Claim 19 of the ’633 Patent is abstract because it simply captures an image, uploads it, and

transfers it to another medium.

       Dependent Claim 20 recites limitations for electronic data uploaded from the computer to

the image transfer device stays with the image transfer device after the computer is disconnected

(’633 Patent at cl. 20). That Claim 20 describes how the uploaded data stays with the image

transfer device after it is disconnected does not alter this analysis. Mayo, 132 S. Ct. at 1292

(“[S]imply appending conventional steps, specified at a high level of generality, to […] abstract

ideas cannot make [them] patentable”). As such, adding the insignificant, post-solution idea that

the uploaded data should not be deleted with disconnection of the device does nothing to change

the ineligibility of the claims, especially because claim does not describe how this solution is

achieved. See, e.g., Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1259 (Fed. Cir.

2016) (“Even if all the details contained in the specification were imported into the [ ] claims, the

result would still not be a concrete implementation of the abstract idea. In fact, the specification

underscores the breadth and abstract nature of the idea embodied in the claims.”). Indeed, the

claims in Content Extraction were directed to data recognition and storage, and are not

meaningfully distinguished from the storage element of Claim 20. Therefore, the ’633 Patent is

directed to the abstract idea of data recognition and transfer.

       B.      Alice Step 2: The claims contain no inventive concept to transform the abstract
               idea into patent-eligible subject matter.

       Because the ’633 Patent is directed to an abstract idea, the Court must next determine

whether it contains an “inventive concept sufficient to transform the claimed abstract idea into a

patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To pass this

test, the ’633 Patent “must include additional features” that “must be more than well-understood,

routine, conventional activity.” Ultramercial, 772 F.3d at 715 (quotation omitted). Here, the ’633



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Patent is broadly generic and does not contain meaningful limitations that would restrict it to a

non-routine, specific application of the abstract idea.

       Each of the steps recited in the ’633 Patent is described only at a high level of generality

as “transferring information from a first medium,” “providing an image transfer device having a

scanner for reading an image” (e.g., a barcode), “uploading electronic data…to the transfer device

from a computer connected to the transfer device,” “merging the electronic data with the image

read by the scanner,” and “transferring the merged image by the transfer device to a second

medium.” To accomplish these steps, the ’633 Patent recites the use of an “image transfer device

having a scanner,” “an image transfer menu” (part of the “image transfer device), and “a computer

connected to the transfer device.” But the claimed “image transfer device” can be virtually any

device capable of taking a photograph. See ’633 Patent at 3:53-54.

       The independent claims of the ’633 Patent are implemented on generic computer

technology and therefore do not contain an inventive concept sufficient to confer eligibility. There

is simply nothing “inventive” about using a known process (i.e., using a computer’s processing

power in conjunction with a copier or fax-machine) and implementing it based on computer

resources. As explained above, the abstract functional descriptions in the independent claims of

the ’633 Patent are devoid of any technical explanation as to how to implement the purported

invention in an inventive way. See In re TLI Commc’ns LLC Patent Litigation, 823 F.3d 607, 615

(Fed. Cir. 2016) (claims failed Alice’s step 2 where specification limited its discussion of

“additional functionality” of conventional components “to abstract functional descriptions devoid

of technical explanation as to how to implement the invention”). Similar to the invalidated claims

in Intellectual Ventures I LLC v. Symantec Corp., nothing in the ’633 Patent’s claims “contains an




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‘inventive concept’ sufficient to ‘transform’ the claimed abstract idea into a patent-eligible

application.” 838 F.3d 1307, 1316 (Fed. Cir. 2016) (citing omitted).

       Courts have repeatedly held that the presence of generic hardware and software like the

kind recited in the independent claims of the ’633 Patent does not make an otherwise abstract idea

patent-eligible. See, e.g., buySAFE, 765 F.3d at 1355 (“That a computer receives and sends the

information over a network—with no further specification—is not even arguably inventive.”);

Content Extraction, 776 F.3d at 1348 (“At most, [the] claims attempt to limit the abstract idea of

recognizing and storing information from hard copy documents using a scanner and a computer to

a particular technological environment. Such a limitation has been held insufficient to save a claim

in this context.”); Bancorp, 687 F.3d 1276–77. The independent claims require only a “computer

processor and memory” and an image transfer device such as a copier or fax-machine.

Consequently, the independent claims recite only generic components—a processor and a

memory—along with generic hardware with scanning functionality. “Nothing in the claims,

understood in light of the specification, requires anything other than off-the-shelf, conventional

computer . . . technology.” Elec. Power Grp., 830 F.3d at 1355. Thus, there is no limitation in the

independent claims that could be considered an inventive concept under step two of the Alice test.

       The purported point of novelty of the ’633 Patent is “enriching personal and desktop copier

feature sets by utilizing the processing power and memory capacity of a connected personal

computer.” ’633 Patent at 1:22-25. The patent expressly states that it does not utilize any particular

non-conventional mechanism for achieving the result. See Internet Patents, 790 F.3d at 1348.

Because each of the claims of the ’633 Patent is altogether devoid of any “inventive concept,” they

are all patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–60.




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VI.    CONCLUSION

       For the foregoing reasons, Quotient respectfully requests that the Court dismiss Sapphire’s

Complaint for failure to state a claim upon which relief can be granted. Because leave to amend

would be futile, Quotient requests dismissal with prejudice.

Dated: December 26, 2018                         Respectfully submitted,

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